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12   Additional Counsel on Signature Block
     Lead Counsel for Plaintiffs
13
                              UNITED STATES DISTRICT COURT
14                                 DISTRICT OF NEVADA
15     JOHN V. FERRIS and JOANN M.
       FERRIS, Individually and on Behalf of All     Case No. 2:18-cv-00479-APG-BNW
16     Others Similarly Situated,
17                                                   STIPULATION AND [PROPOSED]
                     Plaintiffs,
                                                     ORDER TO EXTEND DEFENDANT’S
18            v.                                     DEADLINE TO PRODUCE EXPEDITED
19                                                   DISCOVERY
       WYNN RESORTS LIMITED, STEPHEN
20     A. WYNN, CRAIG SCOTT BILLINGS,                (FIRST REQUEST)
       STEPHEN COOTEY, MATTHEW O.
21     MADDOX, JOHN J. HAGENBUCH,
       ROBERT J. MILLER, PATRICIA
22     MULROY, CLARK T. RANDT JR.,
       ALVIN V. SHOEMAKER, KIMMARIE
23
       SINATRA, DANIEL B. WAYSON, JAY
24     L. JOHNSON, RAY R. IRANI, and J.
       EDWARD VIRTUE,
25
                                   Defendants.
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28
                                                 1   STIPULATION AND PROPOSED ORDER
                                                        RE: EXPEDITED DISCOVERY DATE
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 1          Pursuant to LR IA 6-1 and LR 26-3, the Parties1 stipulate to the following extension of

 2   Defendant’s deadline to produce expedited discovery as set forth in this Court’s May 24, 2024

 3   Order (Dkt. No. 373).

 4          WHEREAS Plaintiffs filed a Motion to Compel additional discovery on November 21,

 5   2023 (Dkt. No. 327);

 6          WHEREAS Defendants filed a Motion for Protective Order on December 5, 2023 (Dkt.

 7   Nos. 329-34);

 8          WHEREAS Defendants filed a Motion for Partial Summary Judgment on the Alleged

 9   February 12, 2018 Corrective Disclosures on November 14, 2023 (Dkt. Nos. 314-26);

10          WHEREAS a hearing was held before the Court on February 12, 2024 regarding

11   Plaintiffs’ Motion to Compel and Defendants’ Motion for Protective Order, and a hearing was set

12   for rulings on the motions (Dkt. No. 365);

13          WHEREAS Plaintiffs moved for an extension of the fact discovery deadline from May 31,

14   2024 until August 29, 2024 (Dkt. No. 362), and by Order dated March 36, 2024, the Court granted

15   the Motion (Dkt. No. 363);

16          WHEREAS a hearing was held before the Court on May 24, 2024, and the Court granted

17   in part and denied in part Plaintiffs’ Motion to Compel additional discovery, and granted in part

18   and denied in part Defendants’ Motion for Protective Order (Dkt. No. 373);

19          WHEREAS during the May 24, 2024 hearing the Court ordered Defendants to review and

20   produce additional discovery relevant to the Company Defendants’ Motion for Summary

21   Judgment to the extent further responsive materials exist by June 24, 2024 (the “Expedited

22   Review”);

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25   1
      The Parties that remain in this action are: (1) Lead Plaintiffs John V. and JoAnn M. Ferris (“Lead
26   Plaintiffs”), (2) additional named plaintiff Jeffrey Larsen (“Additional Plaintiff”, and together
     with Lead Plaintiffs, “Plaintiffs”); and (3) Defendants Wynn Resorts Limited (“Wynn Resorts”
27   or the “Company”), Stephen A. Wynn (“Wynn”), Stephen Cootey, Matthew O. Maddox, and
     Kimmarie Sinatra (collectively, “Defendants”).
28
                                                  2   STIPULATION AND PROPOSED ORDER
                                                          RE: EXPEDITED DISCOVERY DATE
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 1           WHEREAS Defendants requested that Plaintiffs agree to 30-day extension of the

 2   Expedited Review deadline to continue discussions concerning search terms;

 3           WHEREAS Plaintiffs responded that they would not object to a 30-day extension of the

 4   Expedited Review deadline provided that Defendants give them a response to their June 4, 2024

 5   search proposal (with hit counts) by Friday, June 21, 2024, and to the extent that they do not agree

 6   with Plaintiffs’ June 4 proposal, provide a counterproposal with hit counts by Friday June 21,

 7   2024;

 8           WHEREAS Defendants agreed that they would provide Plaintiffs with this information

 9   by June 21, 2024;

10           WHEREAS the Parties are in continuing discussions concerning a search term plan;

11           THEREFORE, the Parties stipulate and agree, and respectfully request the Court to order

12   as follows:

13           1.    Defendant’s deadline to produce documents in connection with the Expedited

14                 Review is extended 30 days, until July 24, 2024.
15
      DATED: June 20, 2024                              KIRKLAND & ELLIS LLP
16

17                                                      /s/ Mark S. Holscher
                                                        Mark Holscher (Pro Hac Vice)
18
                                                        Michael J. Shipley (Pro Hac Vice)
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                                                  3    STIPULATION AND PROPOSED ORDER
                                                           RE: EXPEDITED DISCOVERY DATE
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                                         Attorneys for Defendants Wynn Resorts, Ltd.,
12
                                         and Matthew O. Maddox
13

14   DATED: June 20, 2024                /s/ Gary S. Lincenberg
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                                         Oliver Rocos
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                                         Counsel for Defendant Stephen A. Wynn
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                                     4   STIPULATION AND PROPOSED ORDER
                                             RE: EXPEDITED DISCOVERY DATE
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     DATED: June 20, 2024                /s/ Daniel R. McNutt
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 2                                       Matthew C. Wolf
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 7                                       Counsel for Defendant Stephen Cootey

 8   DATED: June 20, 2024                /s/ Dylan T. Ciciliano
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                                         Erika Pike Turner
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19                                       Counsel for Defendant Kimmarie Sinatra
20   DATED: June 20, 2024                /s/ Murielle J. Steven Walsh
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                                         Murielle J. Steven Walsh (pro hac vice)
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                                     5   STIPULATION AND PROPOSED ORDER
                                             RE: EXPEDITED DISCOVERY DATE
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                                           Lead Counsel for Class Representatives
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     DATED: June 20, 2024                  /s/ Daniel Tyre-Karp
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12                                         Additional Counsel for Class Representatives
13

14

15
     IT IS SO ORDERED:
16

17           June 21
     Dated ___________________, 2024
18   Las Vegas, Nevada                     THE HONORABLE BRENDA WEKSLER
                                           UNITED STATES MAGISTRATE JUDGE
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                                       6   STIPULATION AND PROPOSED ORDER
                                               RE: EXPEDITED DISCOVERY DATE
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                                    CERTIFICATE OF SERVICE
 1

 2          On June 20, 2024, I served the foregoing document on all parties appearing in this case
     when filing said document through the Court’s PACER system with automatic e-service on all
 3
     persons who have registered for e-service on PACER for this case.
 4

 5                                               /s/ Laura Bay
                                                 An employee of KIRKLAND & ELLIS LLP
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                                                7   STIPULATION AND PROPOSED ORDER
                                                        RE: EXPEDITED DISCOVERY DATE
